Case: 2:20-cv-04703-SDM-CMV Doc #: 14 Filed: 03/19/21 Page: 1 of 2 PAGEID #: 45




                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

 BOARDS OF TRUSTEES OF THE                     *    Case No. 2:20-cv-4703
 OHIO LABORERS BENEFITS,                            Morrison, J.
                                               *    Vascura, M.J.
      Plaintiffs,
                                               *
 v.
                                               *
 THE NAPP‐GRECCO COMPANY,                           NOTICE OF SETTLEMENT/
                                               *    STATUS REPORT
      Defendant.
                                               *

       The parties have reached a settlement, requiring three payments over the course of three

months. One payment has been made, and two more will be paid over the next six weeks. As

such, Plaintiffs request the Court to enter a conditional order of dismissal as follows:

               It is ORDERED that this action is hereby DISMISSED with
               prejudice, provided that any of the parties may, upon good cause
               shown within sixty (60) days, reopen the action if settlement is
               not consummated. The parties may substitute a more
               particularized Order of Dismissal within this same time frame,
               should they so desire.

                                    Respectfully submitted,

                                    MANGANO LAW OFFICES CO., LPA

                                    s/Ryan K. Hymore
                                    Ryan K. Hymore (0080750)
                                    3805 Edwards Road, Suite 550
                                    Cincinnati, Ohio 45209
                                    T: (513) 255-5888/F: (216) 397-5845
                                    rkhymore@bmanganolaw.com

                                    Counsel for Plaintiffs
Case: 2:20-cv-04703-SDM-CMV Doc #: 14 Filed: 03/19/21 Page: 2 of 2 PAGEID #: 46




                                    PROOF OF SERVICE

       I hereby certify that a copy of the foregoing response was filed electronically this

19th day of March 2021. Service shall be made via the Court’s electronic filing system to all

parties registered. Further, service shall be made upon the following unrepresented

Defendant by first class U.S. mail and email on this 19th day of March 2021 at the following

address:

              Victor Nekrasovas
              Payroll Administrator
              The Napp-Grecco Company
              1500 McCarter Hwy
              Newark, NJ 07104
              Email: victor@napp-grecco.com

                                          s/Ryan K. Hymore




                                             2
